






No. 04-98-00613-CV



Carmen C. GOMEZ, Elena Faz, Luis Carrasco, Pablo Carrasco, Jeronimo Carrasco, Jr.,


Ricardo Carrasco Individually and Guadalupe R. Carrasco Individually and as Representative


of the Estate of Jeronimo Carrasco,


Appellants



v.



TRI CITY COMMUNITY HOSPITAL, LTD. d/b/a Tri-City Community Hospital,


Appellee



From the 81st Judicial District Court, Atascosa County, Texas


Trial Court No. 97-03-0199 CVA


Honorable Stella Saxon, Judge Presiding



Opinion by:	Phil Hardberger, Chief Justice

Dissenting opinion by:  Sarah B. Duncan, Justice


Sitting:	Phil Hardberger, Chief Justice

		Catherine Stone, Justice

		Sarah B. Duncan, Justice


Delivered and Filed:   May 19, 1999


REVERSED AND REMANDED


	Appellants appeal a summary judgment in favor of appellee, Tri City Community Hospital,
Ltd. ("Hospital"), in a medical malpractice action.  The trial court granted a no-evidence summary
judgment on the element of causation.  Appellants assert that the trial court erred in granting the
judgment.  We reverse the trial court's judgment and remand the cause to the trial court for trial.

Factual and Procedural History


	On April 20, 1995, Jeronimo Carrasco ("Carrasco") was taken to the emergency room of the
Hospital by ambulance complaining of back pain.  He was admitted for observation, then released
on April 21, 1995.  He was still complaining of back pain at the time of his release.

	On April 22, 1995, Carrasco returned to the Hospital complaining of continued back pain and 
the inability to stand. Carrasco further complained that he had not had a bowel movement in four
days.  A chest x-ray was taken on April 22, 1995.  The x-ray revealed a "significantly widened
mediastinum" and "an increase in the size of the cardiac silhouette."  

	On April 24, 1995, a radiologist reviewed the x-ray and dictated his report.  In addition to
reporting what the x-ray revealed, the report stated: "In the setting of back pain consideration should
be given for aortic dissection."  The report states: "Ward notified 4-24-95." 

	Sometime on April 24, 1995, Carrasco's condition deteriorated, and he was air lifted to
Methodist Hospital in San Antonio.  A CT scan revealed a type I dissecting aneurysm of the thoracic
aorta.  Carrasco underwent emergency surgery, and the surgeons found a ruptured dissecting
aneurysm of the thoracic aorta.  The surgeons were able to replace the ascending aorta with a
synthetic graft, and the patient was fairly stable following the surgery.  The following day, Carrasco
suffered another pericardial effusion with tamponade.  Emergency surgery was undertaken, and a
new bleeding site into the pericardium was found with "abundant blood" in the left chest. 
Resuscitative efforts were not successful, and Carrasco died.

	Appellants sued the Hospital and the emergency room physician.  The appellants settled with
the physician.  The Hospital filed a motion for summary judgment asserting several grounds.  The
trial court's judgment reflects that the Hospital advised the trial court at the hearing on its motion
that it was waiving all summary judgment claims except its "no-evidence" claim.  The no-evidence
claim contained within the Hospital's motion asserts that appellants failed to present any evidence
of proximate cause between the Hospital's alleged breach of the standard of care and appellants'
injuries.  The trial court granted summary judgment on this ground, and appellants timely perfected
this appeal.

Standard of Review


	We apply the same legal sufficiency standard in reviewing a no-evidence summary judgment
as we apply in reviewing a directed verdict.  Moore v. K-Mart Corp., 981 S.W.2d 266, 269 (Tex.
App.--San Antonio 1998, pet. denied); Judge David Hittner &amp; Lynne Liberato, No-Evidence
Summary Judgments Under the New Rule, in State Bar of Texas Prof. Dev. Program, 20
Advanced Civil Trial Course D, D-5 (1997).  We look at the evidence in the light most favorable
to the respondent against whom the summary judgment was rendered, disregarding all contrary
evidence and inferences.  Moore, 981 S.W.2d  at 269; Merrell Dow Pharmaceuticals, Inc. v. Havner,
953 S.W.2d 706, 711 (Tex. 1997), cert. denied, 118 S.Ct. 1799 (1998).  A no-evidence summary
judgment is improperly granted if the respondent brings forth more than a scintilla of probative
evidence to raise a genuine issue of material fact.  Moore, 981 S.W.2d at 269; Tex. R. Civ. P.
166a(i).  Less than a scintilla of evidence exists when the evidence is "so weak as to do no more than
create a mere surmise or suspicion" of a fact.  Kindred v. Con/Chem, Inc., 650 S.W.2d 61, 63 (Tex.
1983).  More than a scintilla of evidence exists when the evidence "rises to a level that would enable
reasonable and fair-minded people to differ in their conclusions."  Havner, 953 S.W.2d at 711.


Evidence Before the Trial Court


	The parties initially disagree regarding the evidence that was before the trial court.  The
appellants contend that the deposition testimony of Dr. Leah Raye Mabry, Diana Benad, and Dr.
Raymond G. Armstrong was before the trial court based on the appellants' notice of intention to use
evidence not on file.  The Hospital responds that the deposition testimony was not before the trial
court because the appellants failed to file the discovery materials referenced in their notice prior to 
the trial court's hearing.  We agree with the Hospital.

	Rule 166a(d) permits discovery products not on file with the clerk to be used as summary
judgment evidence if a notice containing specific references to the discovery is filed and served on
all parties together with a statement of intent to use the specified discovery as summary judgment
proofs at least seven days before the hearing if such proofs are to be used to oppose the summary
judgment.  Tex. R. Civ. P. 166a(d).  The comment to the rule states that such proofs must be filed
in advance of the hearing in accordance with rule 166a.  Tex. R. Civ. P. 166a cmt. 1990.  At least
two courts of appeals have refused to consider such proofs if the appellate record did not demonstrate
that the evidence was filed with the trial court when the trial court's order on the motion for
summary judgment was entered.  See Salmon v. Miller, 958 S.W.2d 424, 427-29 (Tex.
App.--Texarkana 1997, pet. denied); E.B. Smith Co. v. U.S. Fidelity &amp; Guar. Co., 850 S.W.2d 621,
623-24 (Tex. App.--Corpus Christi 1993, writ denied); see also Timothy Patton, Summary
Judgments in Texas § 6.04[1], at 74-75 &amp; Supp. 46-49 (2d ed. 1995 &amp; Supp. 1998); but see
Grainger v. Western Cas. Life Ins. Co., 930 S.W.2d 609, 613-14 (Tex. App.--Houston [1st Dist.]
1996, writ denied) (holding failure to object to method by which party submitted copies of excerpts
waived party's failure to file proofs with trial court).  We agree with the reasoning of the Texarkana
and Corpus Christi courts of appeals and hold that the deposition testimony was not properly before
the trial court for consideration.

Evidence of Proximate Causation


	Having determined that the deposition testimony was not properly before the trial court, the
only evidence the trial court could consider was the affidavits and medical records attached to the
appellants' response to the Hospital's motion for summary judgment.  We must now determine
whether that evidence constituted more than a scintilla of probative evidence sufficient to raise a
genuine issue of material fact as to the proximate cause element of the appellants' cause of action.

	In their petition, the appellants allege that the Hospital administered care that fell below the
proper standard of care by failing to properly record Carrasco's complaints and failing to timely
report the results from the x-ray taken April 22, 1995.  In its motion for summary judgment, the
Hospital asserted that the appellants had failed to produce any evidence that these alleged actions
proximately caused Carrasco's death.  The appellants filed a response to which two affidavits of
Comer Roger Youmans, Jr., M.D. were attached, together with the medical records from the
Hospital.

	In his affidavits, Dr. Youmans asserts that Carrasco's chance for success would be
significantly better (greater than 90% to less than 50%) if the dissecting aneurysm was operated on
under an elective basis as opposed to a post-rupture emergent basis.  Dr. Youmans states: "There is
no doubt that Mr. Carrasco would have a better chance for survival if the diagnosis of the dissecting
aneurysm had been established on April 22, or even two days previously when he was seen in the
emergency room on April 20. ... It is further apparent from the review that although the x-ray report
was not dictated until April 24, 1995, there was no attempt by the hospital personnel to convey what
should have been emergency type information to the attending physicians on the day of admission." 
Dr. Youmans expresses his opinion that the Hospital "had the responsibility of seeing to it that the
reports of the grossly abnormal chest x-rays were conveyed to the attending physician on an
emergent basis."

	The Hospital states in its brief that Dr. Youmans does not explain what the missing
"emergency type information" was in his affidavit.  If the reference to the "emergency type
information" in Dr. Youmans' affidavit is read in context, however, it is clear that Dr. Youmans was
referring to the results of the x-ray.  In addition, the Hospital states that the affidavits do not suggest
that the failure to properly diagnose the patient was the result of the failure to convey the emergency
type information or that the attending physician would have made the correct diagnosis with the
information.  Since the x-ray report states: "In the setting of back pain consideration should be given
for aortic dissection," and since the diagnosis that led to Carrasco's surgery was a dissecting
aneurysm of the thoracic aorta, this is some evidence that the x-ray report would have led the
attending physician to a correct diagnosis.  In addition, after noting the Hospital's failure to convey
the emergency type information on the day of admission, Dr. Youmans states: "Subsequently, the
correct diagnosis apparently was not suspected until the time the patient coded on April 24."  This
statement links the Hospital's failure to convey the x-ray information with the misdiagnosis.  At the
very least, the evidence rises to a level that would enable reasonable and fair-minded people to
conclude that the absence of the x-ray report caused the improper diagnosis.  Cf. Krishnan v. Garza,
570 S.W.2d 578, 583 (Tex. Civ. App.--Corpus Christi 1978, no writ) (noting hospital liable for
failing to properly review x-rays).  

	The Hospital further asserts that "unless the aneurysm ruptured after the Hospital received
the report, but while there was still time to do something to save the patient, the Hospital could not
have caused any injury to the decedent."  This statement ignores the appellants' contention,
supported by Dr. Youmans' affidavit, that the Hospital had the duty to take steps to ensure that the
results of the x-ray were relayed to the attending physician "on the day of admission."(1) Since
Carrasco's condition did not deteriorate until April 24, an inference can be made that the rupture
occurred sometime on April 24.  If the x-ray results had been relayed on April 22, the day of
admission, the surgery could have been elective instead of emergent.

Conclusion


	Dr. Youmans' affidavit provides more than a scintilla of evidence that the Hospital's failure
to ensure that the x-ray was read and relayed to the attending physician on the day of admission was
a proximate cause of the appellants' injuries.  The trial court's judgment is reversed, and the cause
is remanded for trial.

							PHIL HARDBERGER, 

							CHIEF JUSTICE

PUBLISH


1. The Hospital did not challenge either the duty or breach elements of the appellants' claim in the no evidence
portion of its motion for summary judgment.

